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Manuel P. Asensio
641 Lexington Avenue, Suite 1533
New York, NY 10022
(212) 702-8801 Cell (917) 515-5200 mpa@asensio.com

VIA JCD_PetitionforReview@ao.uscourts.gov

SECOND NOTICE

April 5, 2019

John G. Roberts, Jr.,

Chief Justice of the United States and

Presiding Justice of the Judicial Conference of the United States
1 First Street, NE

Washington, DC 20543

Notice of the March.5, 2019 Complaint under 28 U.S.C. §§ 351-364 against the
Judicial Council of the Second Circuit, Robert A. Katzmann, the Chief Judge of the
United States Court of Appeals for the Second Circuit, and Ronnie Abrams, a
justice of the US District Court for the Southern District of New York, for their
deliberate mismanagement of the domestic relations exception to federal subject
matter jurisdiction (the “DRE”) for the deliberate conduct outside of their
jurisdiction to prevent the’ undersigned’s federal civil rights complaint titled
Asensio et al. vy. DiFiore et al. from being heard (“March 5, 2019 Complaint”).

 

Dear Chief Justice Roberts:

1, The undersigned has not received an acknowledgment of his March 5, 2019 Complaint.
This matter is time sensitive. It concerns basic human rights in America. These rights were
systematically abrogated through judicial misconduct and ultra vires actions. The government
action is ongoing and deliberate. The action is being taken for the exact and explicit purpose of |
affecting a minor child’s religious, moral and political beliefs. .

aes The action described above it being taken by the Hon. Robert A. Katzmann (“Judges
Katzmann”), the Chief Judge of the United States Court of Appeals for the Second Circuit, and the
Hon. Ronnie Abrams (“Judge Abrams”), a justice of the US District Court for the Southern District
of New York. Their actions are the subject matter of the March 5, 2019 Complaint.

3. With all due respect, the undersigned requests that the Hon. Chief Justice take emergency

action to denounce, condemn and admonish Judges Katzmann and Abrams’ conduct and give them
warning, in the strongest terms possible, that they must immediately cease their deliberate

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misconduct and mismanagement of Asensio et al. v. DiFiore et al.' (hereinafter “Asensio v.
DiFiore”). The March. 5, 2019 Complaint demonstrates that Judges Katzmann and Abrams are
making a concerted and collaborative effort to prevent the Asensio v. DiFiore case from being
heard by a jury. These judges are aware that the Asensio v. DiFiore case exposes massive
corruption in New York County’s domestic relations business and that this business will not
survive if it is exposed in the press. Accordingly, they engaged in ex parte communications with
Janet Marie DiFiore (“DiFiore’”), the Chief Judge of New York State to plant a negative story
about the undersigned, and the Asensio v. DiFiore case, in the New York Daily News. The Hon.
Chief Justice must take immediate action to remedy the harm they caused the undersigned, and his
daughter, and their case, through their behavior to plant their story in the Daily News.

4. Asensio v. DiFiore is a matter of deliberate judicial misconduct that has been protected by
the DRE. In the end, it is an action against the ultra vires acts that are allowing DiFiore take
control of domestic relations matter that neither the federal or state government can regulate DRE.
It is against ultra vires acts within the Hon. Chief Justice’s offices to sanction, and oversee, a
concerted and collaborative effort by federal to allow state judges to regulate individuals, religion,
private property, freedoms, and liberties that they have no right to question, investigate, regulate,
administer, control or govern. It is against the failure to include the DRE in the statutorily
mandated reports by Judicial Conference to the US Congress.

3. The DRE allows concerted and collaborative federal and state judicial misconduct against
civil rights. DRE is not a statute. It is not a law but is being used by federal judges in the US Courts
to affect any emotional rights and to take private property without authority as a weapon against
opposition. As shown, it the March 5, 2019 Complaint, the DRE can only exist if the Hon. Chief
Justice act ultra vires to allow it to exist. The Hon. Chief Justice has not notified or been authorized
by US citizens, the President or Congress to use the DRE in US Courts. Any claim or
representation otherwise is not legitimate and cannot change or affect this basic fact.

6. Without notice the DRE is being used in US Courts to allow state judges to take jurisdiction
over individuals, religion, private property, freedoms, and liberties that neither federal nor state
judges have the authority to question, investigate, regulate, administer, or control. These are

liberties and freedoms that federal law clearly protects from government interference and that are -

protected under the US constitution’s Due Process Clause.

7. The DRE matter concerns violations of the Judicial Conference’s jurisdiction, and the Core
Values of Rule of Law, Equal Justice and Accountability espoused in the Judicial Conference’s
Strategic Plan for Federal Judiciary. Most importantly, the DRE is a monumental offense to the
constitutional purpose of Article III and the Judicial Conference’s allegiance to the Constitution
and laws of the United States.

 

' The Defendants in Asensio v. DiFiore are Janet Marie DiFiore, chief judge of New York State; Barbara Underwood,

former attorney general of New York State; Andrew M. Cuomo, governor of New York State; Adetokunbo O.
Fasanya, New York County Family Court magistrate; and Emilie Marie Bosak, Eva Asensio’s mother.

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8. In the interest of justice, the undersigned respectfully requests that the Hon. Chief Justice
take emergency action in this matter.
Respectfully,

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Manuel P. Aséngio —
Complainant

Anthony J. Sciria,
Chair Committee on Judicial Conduct and Disability

James C. Duff,

Secretary to the Judicial Conference

One Columbus Circle, NE

Washington, DC 20544 . i

Hon. Robert A. Katzmann,
Chief Judge of the United States Court of Appeals for the Second Circuit

‘Hon. Ronnie Abrams,

US District Court for the Southern District of New York

Enclosed the March 5, 2019 Petition.

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